        Case 1:16-cv-00259-KCD Document 145 Filed 12/16/21 Page 1 of 1




            IN THE UNITED STATES COURT OF FEDERAL CLAIMS
___________________________________
                                    )
HEALTH REPUBLIC INSURANCE           )
COMPANY,                            )
                                    )
                  Plaintiff,        )
                                    )
            v.                      ) No. 16-cv-259C
                                    )
THE UNITED STATES,                  ) Filed: December 16, 2021
                                    )
                  Defendant.        )
___________________________________ )

                                         ORDER

       The Court will hold oral argument on the Dispute Subclass’s Motion to Dismiss the

Government’s Counterclaim (ECF No. 103) on Friday, January 28, 2022, at 11:00 a.m. Eastern

Time at the National Courts Building in Washington, D.C.

       SO ORDERED.


Dated: December 16, 2021                         /s/ Kathryn C. Davis
                                                 KATHRYN C. DAVIS
                                                 Judge
